    Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 1 of 10 PageID #:197




                  THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

BEATRICE ROBERSON, as                      )
Independent Administrator of the           )
Estate of Jemel Roberson,                  )
                                           )
             Plaintiff,                    )          18-cv-7476
                                           )
       v.                                  )          Honorable Joan H. Lefkow
                                           )
THE VILLAGE OF MIDLOTHIAN,                 )
and OFFICER IAN COVEY,                     )
individually,                              )
                                           )
             Defendants.                   )

                 NON–PARTY ILLINOIS STATE POLICE’S
            RESPONSE TO PLAINTIFF’S MOTION FOR SANCTIONS

       The Illinois State Police (“ISP”), a non-party, responds to Plaintiff’s Motion

for Sanctions (“Motion”) (Ex. A) as follows:


                                  INTRODUCTION

       Plaintiff’s Motion for Sanctions, which asks this Court to find ISP in

contempt for failing to comply with this Court’s January 2nd, 2019, Order (“Order”),

is based on Plaintiff’s counsel’s gross misrepresentations of the record. Plaintiff’s

contention that ISP “did not ask for an extension to quash or respond but to

‘comply’” with his subpoena (Ex. A ¶ 5)1 is incorrect. Furthermore, ISP substantially



1Plaintiff also argues that ISP waived its law enforcement investigative privilege.
(Ex. A ¶ 14.) ISP asserted this privilege in its Motion to Stay. (Ex. B.) The parties
are briefing that motion separately. (Dkt. 36.) ISP will address any waiver
arguments in its reply brief to its Motion to Stay. Thus, whether ISP waived this
privilege should not be considered in ruling on Plaintiff’s Motion.
   Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 2 of 10 PageID #:198




complied with the Order, which extended ISP’s deadline to respond to Plaintiff’s

subpoena to January 4th, 2019. (Ex. C.)

       Before responding to Plaintiff’s subpoena, ISP timely asked the Court to

extend the deadline for it to respond to Plaintiff's subpoena to January 4th, 2019.

(Ex. D.) Shortly thereafter, Plaintiff filed his motion to compel ISP to respond to the

subpoena. (Ex. E.) On January 2nd, 2019, the Court granted ISP’s motion for an

extension of time to respond to the subpoena. (Ex. C.) The Order, however, also

granted Plaintiff’s motion to compel, in part. Id. Plaintiff’s motion to compel asked

the Court to a) deny ISP’s motion for an extension of time to respond to the

subpoena; b) order ISP to identify Officer John Doe; c) produce any videos; d)

identify any witnesses; and e) pay attorneys’ fees and costs. (Ex. E.) But ISP could

not respond to Plaintiff’s subpoena in accordance with Fed. R. Civ. P. 45(d), by

asserting the law enforcement investigative privilege, and at the same time disclose

parts of its investigation file.

       The Order is ambiguous, and ISP was justified when it produced a privilege

log asserting the law enforcement investigative privilege, among other objections,

with a supporting affidavit, and filed a motion to stay its response to the subpoena

on January 4th, 2019. (Exs. B and F.) Because the Order is ambiguous and ISP

substantially complied with it, ISP should not be found in contempt, and Plaintiff’s

Motion should be denied. Furthermore, Plaintiff's Motion should be denied because

he failed to attach an affidavit in accordance with L.R. 37.1.




                                           2
   Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 3 of 10 PageID #:199




                                 APPLICABLE LAW

      “The Court . . . may hold in contempt a person who, having been served, fails

without adequate excuse to obey the subpoena or an order related to it.” Fed. R. Civ.

P. 45(g). Any proceeding to adjudicate someone in civil contempt of the court

requires an affidavit that “shall set out with particularity the misconduct

complained of, the claim, if any, for damages occasioned thereby, and such evidence

as to the amount of damages as may be available to the moving party. ” L.R. 37.1(a).

      To sustain a contempt claim, the Plaintiff has the burden of proving all of the

following elements by clear and convincing evidence: (1) the Order ISP allegedly

violated is unambiguous; (2) ISP violated the Order; (3) ISP’s violation was

significant in that it did not substantially comply with the Order; and (4) ISP failed

to take steps to reasonably and diligently comply with the Order. Prima Tek II,

L.L.C. v. Klerk’s Plastic Indus., B.V., 525 F.3d 533, 542 (7th Cir. 2008). For Plaintiff

to meet the “clear and convincing” standard, Plaintiff must show that it is “highly

probable” that ISP violated the Order. PrimeSource Bldg. Prod., Inc. v. Felten, No.

16 CV 11468, 2018 WL 2224818, at *1 (N.D. Ill. Mar. 9, 2018) (citing United States

v. Boos, 329 F.3d 907, 911 (7th Cir. 2003)). The first element requires that Plaintiff

“‘point to a decree from the court which set[s] forth in specific detail an unequivocal

command which the party in contempt violated.’” Stotler & Co. v. Able, 870 F.2d

1158, 1163 (7th Cir. 1989) (quoting Ferrell v. Pierce, 785 F.2d 1372, 1378 (7th Cir.

1986)).




                                           3
     Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 4 of 10 PageID #:200




                                      ARGUMENT

I.   Plaintiff’s misrepresentations led to the ambiguous Order.

        Plaintiff, without any support, mispresents in his Motion that ISP “did not

 ask for an extension to quash or respond,” and instead “promised to comply with the

 Plaintiff’s subpoena . . . .” (Ex. A ¶¶ 5, 10.) On the contrary, the evidence shows that

 ISP asked this Court on two separate occasions for an extension of time to respond

 to Plaintiff’s subpoena, and that ISP never “promise[d] to comply” and turn over any

 documents.


        A. ISP timely requested extensions of time to respond to Plaintiff’s
           subpoena twice and never promised to produce documents.

        On Friday, November 16, 2018, Plaintiff issued a subpoena to ISP, and at the

 same time filed a motion to compel ISP’s compliance with that subpoena. (Ex. G.)

 Plaintiff improperly noticed the motion to compel compliance for Tuesday,

 November 20, 2018. (Dkt. 14.) Before that hearing date, ISP filed an appearance

 and a response brief. (Ex. H.)

        In its response brief, ISP requested that the Court deny Plaintiff’s motion to

 compel compliance and asked for additional time “for the State Police to respond to

 the subpoena . . . .” (Ex. H at 1.) (emphasis added). For support, ISP cited to Fed. R.

 Civ. P. 45(d)(2). (Ex. H ¶ 3.) More specifically, ISP stated as follows:

        The Rules afford the State Police time to respond to the subpoena. Fed.
        R. Civ. P. 45(d)(2)(B). This response may include objections to
        what the subpoena is requesting or asserting privilege or both.
        Fed. R. Civ. 45(d)(2)(B) and (e)(2). Indeed, on a timely motion, the
        State Police may move to quash or modify the subpoena. Fed. R.
        Civ. P. 45(d)(3). In any event, the Rules provide the State Police with


                                             4
   Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 5 of 10 PageID #:201




      options on how it wants to respond to Rule 45 subpoenas. For these
      reasons, Plaintiff’s Motion is premature.

(Ex. H ¶ 3.) (emphasis added). Plaintiff ignores this and argues in his Motion that

“[t]he Illinois State Police did not ask for an extension to quash or respond but to

‘comply.’” (Ex. A ¶ 5.) The record simply does not support Plaintiff’s assertion. The

Court agreed with ISP that Plaintiff’s motion to compel was premature, and

unequivocally ordered that ISP “shall respond to the subpoena by 12/18/2018.” (Ex.

I.) (emphasis added).

      On December 17th, 2018, defense counsel contacted Plaintiff’s counsel and

asked whether he would agree to stay ISP’s response to Plaintiff’s subpoena.

Plaintiff’s counsel insisted on ISP producing the identity of Officer John Doe, any

video footage, and the identity of all witnesses immediately. ISP could not agree to

this request, as explained in detail in its Motion to Stay. (Ex. B.) With the

December 18th deadline to respond to the subpoena imminent, ISP asked the Court

to extend its deadline to respond to January 4th, 2019. (Ex. D.)

      ISP’s motion for an extension of time asked for additional time in order to file

a “good faith response” because:

      The subpoena requests a significant amount of sensitive information,
      including the identities of any witnesses and all police reports and
      communications. (Ex. 1 at 5–6.) These types of disclosures require
      assessing the public’s safety and government transparency. The
      importance of these concerns is one that the Office of the Attorney
      General takes seriously, and as such, it requests a short extension to
      respond to Plaintiff’s subpoena in accordance with its obligations under
      the Federal Rules of Civil Procedure.

(Ex. D ¶¶ 2–3.) Nowhere in this motion does ISP promise or even suggest that it

will produce documents. (See generally, Ex. D.) Indeed, Plaintiff’s Motion glosses

                                           5
      Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 6 of 10 PageID #:202




  over ISP’s second request for time to respond to the subpoena when he states,

  “[t]hereafter the Illinois State police requested additional time and Plaintiff filed a

  motion to compel.” (Ex. A ¶ 6.) Like many of his factual contentions, Plaintiff fails to

  cite to the docket or ISP’s filings. (See generally, Ex. A.) The record does not support

  Plaintiff’s position, and his motion cannot change the narrative.


         B. Plaintiff misrepresents in his Motion to Compel that ISP said it
            would comply with the subpoena by producing documents.

         Plaintiff filed a motion to compel in response to ISP’s second motion for an

  extension, and for the first time, the word “comply” was used. (Ex. E.) In that

  motion, Plaintiff argued that ISP “requested additional time (till December 18,

  2018) to comply with the outstanding subpoena,” but this contention is

  unsupported. (Ex. E ¶ 1.) Similarly, Plaintiff argued that ISP “already promised

  this Court” it would comply with the subpoena. (Ex. E ¶ 13.) (emphasis in original.)

  Again, there is no citation to the record to support this contention. Id. Plaintiff is

  attempting to misrepresent in his filings what the record clearly shows: that ISP

  consistently asked this Court for time to respond (not comply) to Plaintiff’s

  subpoena, and that it never suggested, let alone promised, that it would produce

  documents. But, because Plaintiff’s motion to compel was pending at the same time

  as ISP’s motion for an extension of time to respond to Plaintiff’s subpoena, the

  Court entered an ambiguous order addressing both motions.

II.   The January 2nd, 2019, Order is ambiguous.

         On January 2nd, 2019, the Court entered an order granting ISP’s motion for

  an extension of time to January 4, 2019, to respond to the subpoena. (Ex. C.) In the

                                              6
       Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 7 of 10 PageID #:203




   same order, it also granted, in part, Plaintiff’s motion to compel ISP to produce

   documents in response to the subpoena by January 4th, 2019. (Ex. C.) This Order is

   ambiguous because ISP cannot possibly respond to the subpoena by objecting,

   asserting a privilege, or moving to quash or modify the subpoena, and

   simultaneously produce the documents Plaintiff seeks. (Ex. C.) Because the Court

   granted ISP’s motion for an extension of time to respond to Plaintiff’s subpoena by

   January 4th, 2019, ISP responded on that date in good faith, by filing a Motion to

   Stay its Response to Plaintiff’s Subpoena and serving Plaintiff with a corresponding

   letter. (Exs. B and F.)

III.   ISP substantially complied with the Court’s Order.

          ISP substantially complied with the Court’s Order, as ISP understood it, in

   good faith when it filed its Motion to Stay, which asserts the law enforcement

   investigative privilege and asks the Court to stay ISP’s response to Plaintiff’s

   subpoena. (Exs. B and F.) In support, ISP cites the Seventh Circuit’s strong

   presumption against lifting this privilege. Dellwood Farms, Inc. v. Cargill, Inc., 128

   F.3d 1122, 1125 (7th Cir. 1997); (Ex. B at 3.) In Dellwood Farms, the Seventh

   Circuit stated that a “victim of a crime cannot force the government to prosecute the

   criminal; equally he cannot say to the government, ‘Speed up your investigation, or

   get out of the way, because I want to seek a civil remedy. ’” Id. Plaintiff disregards

   ISP’s Motion to Stay altogether, and instead files this Motion for Sanctions, which is

   wholly unsupported by the record. (Ex. A.)




                                              7
      Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 8 of 10 PageID #:204




IV.   Plaintiff failed to comply with L.R. 37.1(a)

         Plaintiff failed to comply with L.R. 37.1(a) when he did not attach the

  necessary affidavit to proceed with civil contempt proceedings. Under the Local

  Rules regarding civil contempt, Plaintiff was required to attach an affidavit to his

  Motion that “set out with particularity the misconduct complained of, the claim, if

  any, for damages occasioned thereby, and such evidence as to the amount of

  damages as may be available to the moving party. ” L.R. 37.1(a). Here, Plaintiff

  failed to follow this Local Rule. (See generally, Ex. A.) For this reason alone,

  Plaintiff's Motion should be denied.


                                     CONCLUSION

         Plaintiff’s Motion is devoid of evidence that ISP “promised to comply” with

  his subpoena. (See generally, Ex. A.) This Motion, along with Plaintiff’s motion to

  compel, are merely an attempt to deflect ISP’s straightforward, good faith efforts to

  acquire more time to evaluate its options under Fed. R. Civ. P. 45 and respond to

  Plaintiff’s subpoena. Plaintiff does this in hopes that the Court will enter an order

  forcing ISP to turn over documents and without addressing the law enforcement

  investigative privilege. Plaintiff counsel’s misdirection resulted in the ambiguous

  Order, which permitted ISP to respond to the subpoena, but also (according to

  Plaintiff) required it to produce records. ISP acted in good faith and substantially

  complied with the Order to the extent it could without waiving its privileges or

  objections as allowed under Fed. R. Civ. P. 45, and the Order’s ambiguity is an

  adequate excuse for any alleged noncompliance.


                                              8
   Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 9 of 10 PageID #:205




      WHEREFORE, non–party, ISP requests that this Honorable Court deny

Plaintiff’s Motion for Sanctions (Ex. A), and for any other relief this Court deems

just and reasonable.



Dated: January 29, 2019

                                              Respectfully submitted,
KWAME RAOUL
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                                          9
  Case: 1:18-cv-07476 Document #: 46 Filed: 01/29/19 Page 10 of 10 PageID #:206




                         CERTIFICATE OF SERVICE

      The undersigned certifies that on January 29, 2019, he electronically filed the

foregoing document with the Clerk of the Court for the United States District Court

for the Northern District of Illinois using the CM/ECF system. Participants in the

case who are registered CM/ECF users will be served by the CM/ECF system.



                                                    /s/ Michael C. Stephenson




                                         10
